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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                  CASE NO. 1:03-cr-00020-MP

TERRANCE LORENZO TILLMAN,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 237, a letter from Mr. Tillman, which the Court

construes as a motion under Second Chance Act of 2007: Community Safety Through

Recidivism Prevention, Pub. L 110–199, 122 Stat. 658 (2008). Mr. Tillman seeks an order of the

Court directing the Bureau of Prisons, presumably under that Act's amendments to 18 U.S.C. §

2624(c), to allow him to spend the final twelve months of his sentence in a halfway house or

home confinement. The motion is first of all premature, as Mr. Tillman was sentenced to 120

months imprisonment in 2003. Also, the Second Chance Act does not create a right of action for

prisoners. Title 42 U.S.C. § 17504 of the Act provides, "Nothing in this Act or an amendment

made by this Act shall be construed as creating a right or entitlement to assistance or services for

any individual, program, or grant recipient." Accordingly, this matter is within the discretion of

the Bureau of Prisons, and Mr. Tillman's motion is denied.


       DONE AND ORDERED this 16th day of April, 2009


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
